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                             EXHIBIT 2
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                                   UNITED STATES PATENT AND TRADEMARK OFFICE

                  SERIAL NO:          77/832081

                  MARK: FLORIDA VIRTUALSCHOOL
                                                                                *77832081*
                  CORRESPONDENT ADDRESS:
                    HERBERT L. ALLEN                                            RESPOND TO THIS ACTION:
                    ALLEN, DYER, DOPPELT, MILBRATH & GILCHRI                    http://www.uspto.gov/teas/eTEASpageD.htm
                    255 S ORANGE AVE STE 1401
                    ORLANDO, FL 32801-3460                                      GENERAL TRADEMARK INFORMATION:
                                                                                http://www.uspto.gov/main/trademarks.htm


                  APPLICANT:           Florida Virtual School

                  CORRESPONDENT’S REFERENCE/DOCKET NO :
                    110491
                  CORRESPONDENT E-MAIL ADDRESS:




                                                                OFFICE ACTION

TO AVOID ABANDONMENT, THE OFFICE MUST RECEIVE A PROPER RESPONSE TO THIS OFFICE ACTION WITHIN 6 MONTHS
OF THE ISSUE/MAILING DATE.

ISSUE/MAILING DATE:

THIS IS A FINAL ACTION.

This letter is written in response to the applicant’s incoming communication on February 24, 2010 in which the applicant submitted a claim of
acquired distinctiveness under Section 2(f) in response to the primarily geographically descriptive refusal issued under Trademark Act Section
2(e)(2) and an amendment to the identification of services. Both are acceptable and the Section 2(e)(2) refusal is withdrawn. However, the
applicant’s arguments regarding the necessity of the disclaimer were unpersuasive. As a result, the requirement for a disclaimer of the wording
“VIRTUAL SCHOOL” is continued and made FINAL.

Addition of Disclaimer

A “disclaimer” is a statement in the record that an applicant does not claim exclusive rights to an unregistrable component of a mark; it does not
affect the appearance of the mark. TMEP §1213. An unregistrable component can include wording or designs that are merely descriptive or
generic, deceptively misdescriptive, or primarily geographically descriptive of an applicant’s goods and/or services. 15 U.S.C. §1052(e); see
TMEP §§1213, 1213.03.

The Office can require an applicant to disclaim an unregistrable component of a mark. 15 U.S.C. §1056(a). Failure to comply with a disclaimer
requirement can result in a refusal to register the entire mark. TMEP §1213.01(b).

The applicant’s mark is “FLORIDA VIRTUALSCHOOL” for the services “Establishing and developing online and distance learning
educational programs at the pre-kindergarten, primary, secondary, college levels; establishing and developing online and distance learning
educational programs at the post-graduate level for educators.”

Third parties often use the wording “VIRTUALSCHOOL” to describe online education services, similar to those listed in the applicant’s
identification of services. See attached evidence. Furthermore, the deletion of the space between the wording “VIRTUAL” and “SCHOOL”
does not overcome the merely descriptive nature of the wording because the deletion does not alter the pronunciation or commercial impression
of the wording. As a result, the claim of acquired distinctiveness based on five years’ use for the wording “VIRTUALSCHOOL” is insufficient
to overcome the disclaimer requirement because the applied-for mark is highly descriptive of applicant’s goods and/or services. In re Kalmbach
Publ’g Co. , 14 USPQ2d 1490 (TTAB 1989); TMEP §1212.05(a). Additional evidence is needed.
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Evidence of acquired distinctiveness may include specific dollar sales under the mark, advertising figures, samples of advertising, consumer or
dealer statements of recognition of the mark as a source identifier, affidavits, and any other evidence that establishes the distinctiveness of the
mark as an indicator of source. See 37 C.F.R. §2.41(a); In re Ideal Indus., Inc., 508 F.2d 1336, 184 USPQ 487 (C.C.P.A. 1975); In re Instant
Transactions Corp., 201 USPQ 957 (TTAB 1979); TMEP §§1212.06 et seq. The Office will decide each case on its own merits.

If additional evidence is submitted, the following factors are generally considered when determining acquired distinctiveness: (1) length and
exclusivity of use of the mark in the United States by applicant; (2) the type, expense and amount of advertising of the mark in the United States;
and (3) applicant’s efforts in the United States to associate the mark with the source of the goods and/or services, such as unsolicited media
coverage and consumer studies. See In re Steelbuilding.com, 415 F.3d 1293, 1300, 75 USPQ2d 1420, 1424 (Fed. Cir. 2005). A showing of
acquired distinctiveness need not consider all of these factors, and no single factor is determinative. In re Steelbuilding.com, 415 F.3d at 1300,
75 USPQ2d at 1424; see TMEP §§1212 et seq.

The amount and character of evidence needed to establish acquired distinctiveness depends on the facts of each case and particularly on the
nature of the mark sought to be registered. Roux Labs., Inc. v. Clairol Inc., 427 F.2d 823, 829, 166 USPQ 34, 39 (C.C.P.A. 1970); see In re Hehr
Mfg. Co., 279 F.2d 526, 126 USPQ 381 (C.C.P.A. 1960); TMEP §1212.05(a).

More evidence is required where a mark is so highly descriptive that purchasers seeing the matter in relation to the named goods and/or services
would be less likely to believe that it indicates source in any one party. See, e.g., In re Bongrain Int’l Corp. , 894 F.2d 1316, 13 USPQ2d 1727
(Fed. Cir. 1990); In re Seaman & Assocs., Inc., 1 USPQ2d 1657 (TTAB 1986).

However, no amount of purported proof that a generic term has acquired secondary meaning can transform that term into a registrable
trademark. Such a designation cannot become a trademark under any circumstances. See In re Bongrain, 894 F.2d at 1317 n.4, 13 USPQ2d at
1728 n.4; H. Marvin Ginn Corp. v. Int’l Ass’n of Fire Chiefs , Inc., 782 F.2d 987, 989, 228 USPQ 528, 530 (Fed. Cir. 1986); TMEP §1212.02(i).


The computerized printing format for the Office’s Trademark Official Gazette requires a standardized format for a disclaimer. TMEP
§1213.08(a)(i). The following is the standard format used by the Office:

       No claim is made to the exclusive right to use “VIRTUALSCHOOL” apart from the mark as shown.

TMEP §1213.08(a)(i); see In re Owatonna Tool Co., 231 USPQ 493 (Comm’r Pats. 1983).

Response Guidelines for Final Actions

If applicant does not respond within six months of the date of issuance of this final Office action, the application will be abandoned. 15 U.S.C.
§1062(b); 37 C.F.R. §2.65(a). Applicant may respond to this final Office action by:

       (1) Submitting a response that fully satisfies all outstanding requirements, if feasible; and/or

       (2) Filing an appeal to the Trademark Trial and Appeal Board, with an appeal fee of $100 per class.

37 C.F.R. §§2.6(a)(18), 2.64(a); TBMP ch. 1200; TMEP §714.04.

In certain rare circumstances, a petition to the Director may be filed pursuant to 37 C.F.R. §2.63(b)(2) to review a final Office action that is
limited to procedural issues. 37 C.F.R. §2.64(a); TMEP §714.04; see 37 C.F.R. §2.146(b); TBMP §1201.05; TMEP §1704 (explaining
petitionable matters). The petition fee is $100. 37 C.F.R. §2.6(a)(15).

If applicant has questions about its application or needs assistance in responding to this Office action, please telephone the assigned trademark
examining attorney.

To expedite prosecution of the application, applicant is encouraged to file its response to this Office action online via the Trademark Electronic
Application System (TEAS), which is available at http://www.uspto.gov/teas/index.html. If applicant has technical questions about the TEAS
response to Office action form, applicant can review the electronic filing tips available online at http://www.uspto.gov/teas/eFilingTips.htm and
email technical questions to TEAS@uspto.gov.
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                                             /Angela G. Duong/
                                             Trademark Examining Attorney
                                             Law Office 104
                                             Phone: (571) 272-1347
                                             Fax: (571) 273-9104


RESPOND TO THIS ACTION: Applicant should file a response to this Office action online using the form at
http://www.uspto.gov/teas/eTEASpageD.htm, waiting 48-72 hours if applicant received notification of the Office action via e-mail. For
technical assistance with the form, please e-mail TEAS@uspto.gov. For questions about the Office action itself, please contact the assigned
examining attorney. Do not respond to this Office action by e-mail; the USPTO does not accept e-mailed responses.

If responding by paper mail, please include the following information: the application serial number, the mark, the filing date and the name,
title/position, telephone number and e-mail address of the person signing the response. Please use the following address: Commissioner for
Trademarks, P.O. Box 1451, Alexandria, VA 22313-1451.

STATUS CHECK: Check the status of the application at least once every six months from the initial filing date using the USPTO Trademark
Applications and Registrations Retrieval (TARR) online system at http://tarr.uspto.gov. When conducting an online status check, print and
maintain a copy of the complete TARR screen. If the status of your application has not changed for more than six months, please contact the
assigned examining attorney.
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